
The Condition of an Injunction Bond was, “that, whereas the above bound Nathaniel Fox hath obtained an injunction in the Superior Court of Chancery for the Richmond District, to stay proceedings on a judgment at law lately obtained in the County Court of Stafford against him by the said Thomas Mountjoy Executor as aforesaid, now, if the above bound Nathaniel Fox shall well and truly pay and satisfy the judgment obtained against him at common law, by the aforesaid Thomas Mountjoy as Executor aforesaid, in case the injunction upon hearing should be dissolved, ^together with the costs of said injunction, if ruled so to do, then the above obligation to be void, else to remain in full force and virtue.”
Action being brought on this bond, in the County Court of Stafford, issue was joined on the plea of condition performed. At the trial, the plaintiff gave in evidence the bond, and a copy of the record of proceedings in Chancery shewing that, in fact, the Injunction was dissolved, and the bill dismissed, with costs : — whereupon, the defendants moved the Court to instruct the Jury that the plaintiff was not entitled, in this action, and under the condition of this bond, to damages at the rate of ten per centum, and other interest and Costs not contained in the terms of the said obligation ; which the Court refused to do, and instructed the Jury “that the plaintiff was. entitled to recover interest on the principal, *614{exclusive of costs of judgment enjoined,) at the rate of six per centum per annum from the rendition of said judgment(1) until the said injunction was awarded, and from the dissolution of said injunction until the present time, and also damages, (2) at the rate of ten per centum per annum, on the said principal sum during the existence of the said injunction, and also the plaintiff’s costs in the Court of Chancery:” —to which opinion the defendants excepted.
Verdict and Judgment accordingly for the plaintiff. — Upon an appeal, the Judgment was affirmed by the Superior Court; and thereupon, the defendants again appealed.
After argument by Briggs for the appellants, and Green for the appellee, this Court also affirmed the Judgment.

 Note. The judgment was for a debt bearing interest. — Note in Original Edition.


 Note. See R. Code of 1819, c. 66, § 61, p. 209.

